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                                                                                                   EXHIBIT
                                                                                                       1
                           JOINT DEVELOPMENT AGREEMENT

        This JOINT DEVELOPMENT AGREEMENT is entered into and dates as of the 20th day
of February, 2019 (the “Effective Date”) by and among Clean Energy Nexus, LLC a Delaware
limited liability company (the “CEN”) and SRI Energy, LLC a Michigan Limited Liability
Company, (the “Developer”). CEN and Developer are each a “Party” hereunder and together the
“Parties”.

                                                  RECITALS

       WHEREAS, Developer has obtained certain rights to develop, build, and operate certain
Solar Projects listed on Exhibit A attached hereto (the “Projects”);

       WHEREAS, Parties intends to enter into Definitive Agreements for or in connection with
the acquisition, finance, and/or sale of some or all of the Projects;

       WHEREAS, in consideration of the services to be provided by Developer hereunder in
connection with the Projects and the Project Companies, CEN shall pay to Developer the
Developer Fees as provided herein;

       NOW, THEREFORE, for and in consideration of the premises and the mutual covenants
and undertakings contained in this Agreement, and intending to be legally bound, the Parties
hereby agree as follows:

                                     ARTICLE 1
                           DEFINITIONS AND RULES OF USAGE

        Section 1.1 Definitions. For purposes hereof, the following terms, when used herein
with initial capital letters, shall have the respective meanings set forth herein:

        "Affiliate” means, for any Person, any other Person that such Person controls, is controlled
by, or is under common control with, where "control" means the power to direct the management
and policies of such Person.

        "Agreement" means this Agreement as it may be amended, modified or supplemented from
time to time.

        "Applicable Law" means any applicable federal, national, regional, state, municipal or
local law, statute, treaty, rule, regulation, ordinance, order, code, judgment, decree, directive,
injunction, writ or similar action or decision duly implementing any of the foregoing by any
Governmental Authority and includes all applicable Permits.

        "All-in Project Cost" shall mean all costs associated with the development, construction,
procurement, legal, accounting, interest and any other expenses associated with cost of delivering
the projects to completion.




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     "Business Day" means any day other than Saturday, Sunday, a legal holiday in the State of
New York or a bank holiday authorized by the Federal Reserve Bank.

        "CEN Final Assessment Report at NTP" is a report derived from the software system
developed by CEN and available to Developer for review. The report details the all-in cost of the
projects and determines an after-tax asset yield for each project. The report will be provided at
NTP, prior to commencement of construction.

        "Closing” for each Project Company, means the closing by CEN of the acquisition of such
Project under the Definitive Agreements.

        "Confidential Information” means any information, whether oral or written (including in
electronic format), including all intellectual property, that becomes known by either Party or any
of their Affiliates or subcontractors in connection with this Agreement, or relating to any Project,
any Project Company, covered under the Agreement.

       "Definitive Agreements” means any agreement that transfers ownership of a Project to
CEN, including membership interest purchase agreements, asset purchase agreements or related
assignments thereof; or any ancillary agreements required to accomplish the transfer of ownership.

       "Developer" has the meaning established in the first paragraph of this Agreement.

       "Acquisition Fee" has the meaning established in Section 3.1.

       "Development Services" has the meaning established in Section 2.2.

       "Effective Date" has the meaning established in the first paragraph of this Agreement.

       "EPC Agreement" means an agreement                           for the engineering, procurement   and
construction of any Project.

        "Governmental Authority" means any domestic or foreign national, federal, state,
county, provincial, municipal or local governmental or regulatory authority, agency, court,
commission, arbitration tribunal or other governmental, or quasi-governmental entity, and any
self-regulatory organization, including an independent system operator or regional transmission
operator.

        "Insolvency Event" means, with respect to a Party, that such Party (a) consents to the
appointment of or taking possession by, a receiver, a trustee, custodian or liquidator of itself or
of a substantial part of its assets, or fails or admits in writing its inability to pay its debts
generally as they become due, or makes a general assignment for the benefit of creditors or
becomes insolvent, (b) files a voluntary petition in bankruptcy or a voluntary petition or an
answer seeking reorganization in a proceeding under any applicable bankruptcy or insolvency
laws or an answer admitting the material allegations of a petition filed against it in any such
proceeding, or seeks relief by voluntary petition, answer or consent, under the provisions of any
now existing or future bankruptcy, insolvency or other similar Applicable Law providing for the



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liquidation, reorganization, or winding 'up of corporations, or providing for an agreement,
composition, extension, or adjustment with its creditors, (c) a substantial part of such Person's
assets is subject to the appointment of a receiver, trustee, liquidator or custodian by court order
and such order shall remain in effect for more than sixty (60) days, (d) is adjudged bankrupt or
insolvent, has any property sequestered by court order and such order shall remain in effect for
more than sixty (60) days, or has filed against it a petition under any bankruptcy, reorganization,
arrangement, insolvency, readjustment of debt, dissolution or liquidation law of any jurisdiction,
whether now or hereafter in effect, and such petition shall not be dismissed within sixty (60)
days after such filing or (e) otherwise has become a debtor in any case under any chapter of the
United States Bankruptcy Code.

        "Interconnection Agreement" means, if necessary to deliver electricity from the
respective Project to the purchaser or distributor of the generated and delivered electricity, an
agreement between each Project Company and the applicable utility providing for the
interconnection of such Project with such utility's distribution system.

         "Interconnection Approval" means, all approvals required prior to NTP by the applicable
utility providing for the interconnection of such Project with such utility's distribution system to
deliver electricity from the respective Project once construction is completed.

        "Lease" means the site lease, a financeable site control agreement or any easements or
rights of way granting any Project Company leasehold or easement rights in connection with the
interconnection, construction, access, ingress and egress and any other real property interests as
otherwise required for the construction, interconnection, operation and maintenance of each
Project.

        "Lien" means any encumbrance, including any lien, security interest, charge, right of first
refusal or rights of first offer, option, warrant, mortgage, pledge, assessment, or transfer for the
purpose of payment of any indebtedness, or restriction on the creation of any of the foregoing,
whether relating to any property or right or the income or profits therefrom.

       "Milestone" has the meaning established in the table included in Section 3.l(b).

      "NTP" means the notice to proceed issued by a Project Company to the contractor under
an EPC Agreement to commence all of the work specified thereunder.

       "NTP Payment” means that portion of the Acquisition Fee for a Project payable in
connection with the issuance of NTP by a Project Company.

       "Party" has the meaning given in the Preamble hereto and includes the successors and
permitted designees and assigns of such Persons.

        "Permit" means any authorization, license, permit, tariff, certification, certificate of
authority, approval, registration, franchise, clearance or similar consent granted or issued by or
under the authority of any Governmental Authority.




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        "Person" means any individual, partnership, corporation, association, business, trust,
limited liability company, Governmental Authority or other legal entity.

       "Power Purchase Agreements" means the agreement entered into or to be entered into by
each Project Company providing for the delivery and sale of electricity or net meter credits
generated by the respective Project to an offtaker and purchaser of said generated electricity.

       "Projects" shall mean individually and collectively the solar PV projects listed in Exhibit
A and incorporated into this Agreement by Reference.

       "Project Capacity" means the nameplate capacity of each Project, measured in kW dc. The
estimated installed Project Capacity of each Project is shown on Exhibit A.

       "Project Companies" shall mean the project companies listed in Exhibit A that directly own
the Projects listed on Exhibit A.

        "Purchase Price” shall mean the sum of the costs to acquire, engineer, procure materials
for and construct a Project. This shall include but not be limited to third-party development fees,
acquisition payments, EPC contract costs, roofing and interconnection costs.

      "Project Documents" means the Leases, the Interconnection Agreements, the EPC
Agreements, Power Purchase Agreements, O&M Agreement, and any other contracts and
agreements as mutually agreed upon by CEN and Developer.

       "Progress Report" has the meaning established in Section 2.3.

        "Project Site" means real property comprising the leasehold, easement, rights of way and
other real property sufficient to construct, operate and maintain the applicable Project, including
the interconnection of the Project to the electricity distribution grid, and unobstructed ingress,
egress and access.

        "Prudent Industry Practices" means the exercise of that degree of skill and diligence, and
of such practices, methods, acts, specifications and standards of safety and performance, as
would ordinarily be expected in the development of distributed solar generation facilities
consistent with industry practices in the United States by a competent, experienced and prudent
developer for the development, construction and financing of solar power generation facilities
and equipment similar to the Projects that in the exercise of good judgment would have been
expected to accomplish the desired result in a manner consistent with Applicable Laws and
Permits. Prudent Industry Standards are not intended to be limited to the optimum practice or
method to the exclusion of others, but rather to be a spectrum of possible but reasonable practices
and methods.

       "Related Persons" means, in respect of a referenced Person, (a) its direct and indirect
owners and Affiliates, (b) its direct subcontractors if the nature of their engagement is such that
they are under such Person's supervision and control, and excluding, in all cases, subcontractors
(of any tier) that operate as independent contractors offering similar services to the general public



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and who retain all rights to direct, control, manage and supervise their operations and (c) the
respective trustees, fiduciaries, directors, officers, members, shareholders, employees,
representatives, advisors and agents of the referenced Person and the Persons described in
clauses (a) or (b) above.

       "Reports" has the meaning established in Schedule 1.

       "Substantial Completion" means the date that a Project is mechanically complete and
capable of generating electricity and has receive a permission to operate from the
interconnecting utility, as applicable, but has not commenced commercial operation. Definition of
Substantial Completion may be modified or limited by the definition of Substantial Completion in
the EPC Agreement.

        Section 1.2 Rules of Usage.            The following rules of usage shall apply to this
Agreement unless otherwise required by the context or unless otherwise specified: (a) definitions
set forth herein shall be applicable to the singular and plural forms of the terms defined; (b)
references to articles, sections, paragraphs, clauses, annexes, appendices, schedules or exhibits
are references to articles, sections, paragraphs, clauses, annexes, appendices, schedules or
exhibits in this Agreement unless otherwise stated; (c) the headings, subheadings and table of
contents used in this Agreement are solely for convenience of reference and shall not constitute a
part of this Agreement nor shall they affect the meaning, construction or effect of any provision
of this Agreement; (d) references to any Person shall include such Person and its successors
and permitted assigns and transferees; (e) reference to any agreement (including this Agreement)
means such agreement as amended, supplemented or otherwise modified from time to time in
accordance with the applicable provisions thereof; (f) references to any Applicable Law includes
any Applicable Law as that Law may be changed; (e) where a word or phrase is specifically
defined, other grammatical forms of such word or phrase have corresponding meanings; the words
"herein," "hereunder," and "hereof' refer to the provisions of this Agreement as a whole and not
to any particular portion or provision of this Agreement; "including" means "including, but not
limited to," and other forms of the verb "to include" are to be interpreted similarly; references to
"or" shall be deemed to be disjunctive but not necessarily exclusive (i.e., unless the context dictates
otherwise, "or" shall be interpreted to mean "and/or" rather than "either/or"); and masculine
includes feminine and neuter; (f) references to "days" shall mean calendar days, unless the term
"Business Days" is used; if the time for performing an obligation under this Agreement expires
on a day that is not a Business Day, the time shall be extended until that time on the next Business
Day; and (g) references to a day or time of day hereunder are references to the day or time in effect
in the State of New York.

                                      ARTICLE 2
                            PROJECT DEVELOPMENT SERVICES

        Section 2.1 Engagement. Parties agree to perform the Development Services for each
Project Company on the terms and conditions in this Agreement. Parties hereby accepts such
engagement and agrees to perform jointly the Development Services in accordance with the terms
and conditions in this Agreement.




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       Section 2.2 Joint Development Services.                To the extent not otherwise already
provided by Developer, prior to the Effective Date; or after the Effective Date, Parties shall work
together to deliver the services listed in Schedule 1 (collectively, the "Development Services") in
support of the development of the Projects.

       Section 2.3 Progress Reports and Meeting. Without limitation of other reporting and
notice requirements herein, Parties shall meet on weekly basis detailing progress of the
Development Services through the previous week.            The Progress Report shall contain at a
minimum the following information: (a) a detailed description of the status of the Development
Services and activities undertaken in connection therewith, (b) any events or conditions in
connection with the Development Services that could delay NTP or Closing under the Definitive
Agreements, and an evaluation of each such event or condition and a plan to mitigate any potential
delay, (c) the status of Permits, and (d) copies of all material notices, correspondence, documents
and other materials prepared by Parties in connection with any Project. Progress Reports can be
transmitted verbally, electronically or in any form mutually acceptable to Parties.

       Section 2.4     Other Obligations of Parties.

                 (a)     Project Documents. Without limitation of anything in Section 2.2, the
Parties r shall submit to CEN investment committee for review and approval of all drafts of Project
Documents, Permits, Reports, studies and other material documents and materials obtained by
Parties.

               (b)     Reports. Parties engage third parties identified by or otherwise reasonably
approved in advance by CEN to prepare the Reports, and all such Reports shall be for the benefit
and reliance of the applicable Project Company, and its lenders and investors. Parties shall deliver
to CEN investment committee for review of all drafts of the third-party reports provided to Parties.

                (c)       Costs and Expenses. Parties shall perform the Development Services,
including obtaining all deliverables included in the Development Services, unless explicitly
provided otherwise herein, at no additional cost to Developer for third party fees and such third
party fees are to be paid by CEN. Third party fees and expenses are included in CEN’s Preliminary
Assessment Report (PAR) and recorded as expenses to the project(s). Parties are responsible for
their respective expenses related to legal and technical review of Development Services items.

               (d) Standards of Performance. Parties shall perform the Development Services
with due diligence, using qualified personnel, in a professional manner and otherwise in material
accordance with Applicable Laws, this Agreement, and Prudent Industry Practices.

              (e)     No Liens. Parties shall not cause or permit any Lien on, any Project
Company, any Project or any assets thereof, or any Project Site, except in the case in which the
Acquisition Fee has not been paid in accordance with this Agreement.

               (f)    Right of First Refusal. Developer shall first present all future project
opportunities to CEN for purchase or acquisition, and allow appropriate time for approvals, prior
to showing to any other possible investor.



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        Section 2.5      Direction of Services. All Project Documents, Permits, and other assets
related to a Project shall be under the control of and in the name of the Project Company associated
with the Project. Parties shall deliver, and CEN shall have a reasonable opportunity to review and
comment on all drafts of the documents presented and any proposed third parties to be engaged by
Parties. This section shall not apply to any documents executed by Parties prior to the execution
of this Agreement.

                                      ARTICLE 3
                              MILESTONES; ACQUISITION FEE

       Section 3.1     Acquisition Fee.

                (a) Subject to and on the terms and conditions of this Article 3, CEN shall pay the
Developer a fee in connection with the Development Services for each Project that CEN has
approved and will acquire in the amount shown in Exhibit A (the "Acquisition Fee"). Acquisition
Fees shall be due for each individual Project site listed under Project Name in Exhibit A at the
time that the individual Project site achieves the payment milestones listed below; for any Project
Sites that have completed their Milestones prior to the Effective Date of this Agreement,
Acquisition Fees based on those Milestones shall be due on the Effective Date.

                (b)   The Acquisition Fee for each Project shall be paid as provided below:

                       Percentage of
     Milestones                                                      Description of Event
                      Acquisition Fee
                                                The delivery of the solar irradiance analysis,
                                                determination of Interconnection, fully executed Power
                                                Purchase Agreement and Lease, environmental and zoning
   Project
                             20%                clearances, title opinion and boundary survey. Project(s)
   Acceptance
                                                must meet yield targets identified by the Indication of
                                                Interest document provided at the projects’ initial
                                                assessment.
                                                The NTP Payment will be due within five (5) Business
                                                Days of the later of i) Closing and ii) both the issuance of
   NTP Payment               40%
                                                NTP, as defined by the EPC Agreement, and the delivery
                                                of the documents listed in Exhibit B.

                                                The Final Payment will be due within five (5) business
                                                days of the earlier of i) three (3) months after Substantial
   Final Payment             40%                Completion Payment, ii) Commercial Operation as
                                                defined by the power purchase agreement, or iii) Final
                                                Completion as defined by the EPC Agreement.


               (c)     Developer shall invoice CEN as amounts become due and payable under
each Milestone. Invoices shall include sufficient detail for CEN to reconcile amounts included
on an invoice against amounts owed in connection with the appropriate Milestone. CEN shall pay
undisputed amounts within five (5) days of receipt of invoice. Disputed amounts shall be resolved


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promptly by the Parties, and any amount owed to Developer shall be paid by CEN with interest
(Federal Funds overnight rate as published in the Wall Street Journal) accrued from the date the
amount was due until the date it is paid.

               (d)    Developer shall be entitled to an Incentive Acquisition Fee for projects with
asset yields greater than 9.25% as determined by the final approved budget and analysis
determined by the CEN Final Assessment Report at NTP. Fifty percent (50%) of the all-in cost
savings from the All-in Project Cost shall be paid to Developer at the completion of the projects.

        Section 3.2 Financing Fee. At CEN’s election, CEN may arrange, negotiate and close
all financing for the Projects. The fee for this service shall be three and a half cents ($0.035) per
watt DC. This will be treated as compensation to CEN for its services under this Agreement

       Section 3.3       Construction Management Services and Ongoing Operations and
Maintenance. Developer is not responsible for Construction Management Services during
construction. Developer shall provide monitoring of the Projects after commercial operation under
a separate Operations & Management agreement. .

        Section 3.4    Asset Management Services and Fee.           At CEN’s election, it shall
cause the Project Company to engage Developer, or its affiliates, for the asset management of the
Projects for a fee to be stipulated under a separate Operations & Maintenance contract for the
standard market term.


                                             ARTICLE 4
                                        OBLIGATIONS OF CEN

        Section 4.1  Project Deposits and Costs. At such time as required in accordance with
any fully executed Interconnection Agreement, Power Purchase Agreement, Engineering
Procurement, Construction Agreement and Lease, CEN shall pay or through applicable Project
Company cause to pay any amounts due and payable thereunder and in accordance with the
Definitive Agreements.

                                            ARTICLE 5
                                        BOOKS AND RECORDS

       Section 5.1      Maintenance and Ownership of Books and Records. The Developer
with the support of CEN shall maintain complete and accurate books and records relating to the
Development Services items in its control and possession for each Project in a prudent and
commercially reasonable manner. All such books and records shall be the property of the
applicable Project Company and shall be delivered to the respective Project Companies as a
condition of the Final Completion Payment for the applicable Project. Upon reasonable notice to
Developer, CEN shall have a right to review and inspect the books and records relating to the
Development Services.

                                                  ARTICLE 6



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                                       TERM AND TERMINATION

        Section 6.1 Term. This Agreement shall remain in effect until the earlier of i) payment
of all Developer Acquisition Fees payable for each Project, or ii) termination of this Agreement.

       Section 6.2 Termination. The Term of this Agreement may be terminated under the
following circumstances:

       (i) Death. The Term shall terminate immediately upon the death of one of the Parties;

                (ii) Cause. Parties may terminate this Agreement immediately for Cause. For
purposes of this Agreement, Parties shall have “Cause” to terminate the Agreement upon (i)
Parties incompetence or failure substantially to perform the Development Services hereunder
(other than by reason of disability) after notice thereof and a reasonable opportunity of not less
than 15 days to cure the same, (ii) Parties engaging in conduct injurious to respective business or
the Project Company or in willful misconduct, (iii) Parties dishonesty or breach of fiduciary duty
to the Project Company, (iv) Parties indictment or arrest for violation of any law, rule or regulation
that is a felony, or (v) Parties breach of this Agreement in any material respect; or

               (iii) For Convenience. Parties may terminate this agreement with a thirty (30) day
written notice of same. Termination shall become effective upon the end of the thirty-day period
and the satisfaction of all then current obligations of the Parties to the other Party under this
Agreement.

However, in the event that this Agreement is terminated for any reason, Company shall be
obligated to compensate Contractor for the services provided up though the date of termination.


        Section 6.3 Surviving Provisions. The provisions of Articles 1, 5, 6, 8, 9, 10, and 11
shall survive the expiration or termination of this Agreement, as shall any payment obligations
incurred by either Party to the other prior to termination.

                                  ARTICLE 7
                    MUTUAL REPRESENTATION AND WARRANTIES

       Section 7.1            Representations and Warranties. Parties mutually represents and
warranties as follows:

                (a) This Agreement constitutes a legal, valid, and binding obligation, enforceable
against it in accordance with its terms, except as such enforcement may be limited by applicable
bankruptcy, insolvency event, moratorium, or similar laws from time to time in effect which affect
creditors' rights generally, and by legal and equitable limitations on the enforceability of specific
remedies;

                (b)     It has the power and authority to execute and deliver this Agreement and
to perform its obligations hereunder. This Agreement has been duly executed and delivered by
it; and


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               (c)    There are no matters pending, to its knowledge, that would delay or prevent
it from performing its obligations hereunder.

                                        ARTICLE 8
                                CONFIDENTIALITY; PUBLICITY

        Section 8.1     Confidentiality. Parties shall keep all Confidential Information received
from the other Party confidential and shall not disclose any of the Confidential Information to any
Person without the prior written consent of the disclosing Party, unless (a) the Confidential
Information was known to the Party prior to its receipt under this Agreement or was acquired
from the disclosing Party or from any third party without an obligation of confidentiality
to the disclosing Party; (b) the Confidential Information is or becomes publicly available
other than as a result of the receiving Party's breach of its obligations under this Article 8; or (c)
subject to immediately following sentence, the receiving Party is required to disclose the
Confidential Information by any Applicable Law or a request of a governing authority with
jurisdiction. If the receiving Party is required to disclose any Confidential Information by any
Applicable Law, the receiving Party shall, it legally permissible, promptly notify the disclosing
Party of the request for disclosure and shall cooperate with the disclosing Party in opposing the
request for disclosure and in seeking confidential treatment for the Confidential Information that
is required to be disclosed. The Parties shall use Confidential Information received from the other
Party only in connection with this Agreement.

        Section 8.2 Permitted Disclosure. Notwithstanding the foregoing, the receiving Party
may disclose Confidential Information to its Related Persons and their respective directors,
officers, employees, agents and advisors (including attorneys, accountants, lenders and credit
providers, and experts) who need access to the Confidential Information in connection with this
Agreement, and for use only for such purposes. The receiving Party shall inform each such
Related Persons of the confidential nature of the Confidential Information and shall be responsible
for each such Person's compliance with the receiving Party's obligations under this Article 8.

        Section 8.3     Project Information. Without limitation of Section 8.1, Parties shall
keep confidential and shall not disclose any information regarding the Development Services, the
Project Companies or the Projects to any Persons other than to the extent provided in Section 8.2
or to the extent of disclosures allowed in accordance with Section 8.1.

       Section 8.4       Publicity.      Except as required by Applicable Law (including as to
disclosure of material information to investors), the Parties shall not issue any press release or
make any similar public announcement related to the terms or existence of this Agreement or the
Projects without the prior written consent of each party. . Parties may not use the name or any
trademarks of respective business or the Project Companies or their Affiliates in any promotional
materials or advertising without the prior written permission of respective party. .

                                  ARTICLE 9
                    INDEMNIFICATION; LIMITATION OF LIABILITY




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         Section 9.1 Developer Indemnity. Developer shall indemnify and hold harmless CEN,
each Project Company, and their respective Related Persons (collectively, the "CEN Indemnitees")
for any and all action, causes of action, costs, claims, liabilities, and expenses (including attorneys'
fees) against any CEN Indemnitee in connection with or arising from any claim by a third party
that is not a CEN Indemnitee caused by the gross negligence or willful misconduct of Developer
or its agents or employees which constitute a breach by Developer of its obligations hereunder.

        Section 9.2       CEN Indemnity. The CEN shall indemnify and hold harmless
Developer and its Related Persons (collectively, the "Developer Indemnitees") for any and all
action, causes of action, costs, claims, liabilities, and expenses (including attorneys' fees) against
any Developer Indemnitee in connection with or arising from any claim by a third party that is
not a Developer Indemnitee caused by (i) the gross negligence or willful misconduct of CEN or
its agents or employees which constitute a breach by CEN of its obligations hereunder.

     Section 9.3  LIMITATION OF DAMAGES.     IN NO EVENT SHALL EITHER
PARTY BE LIABLE TO THE OTHER PARTY (OR ITS RESPECTIVE RELATED PARTIES)
FOR INDIRECT, INCIDENTAL, SPECIAL, CONSEQUENTIAL (OTHER THAN ACTUAL
OR DIRECT) OR EXEMPLARY DAMAGES ARISING OUT OF OR RELATED TO THIS
AGREEMENT, INCLUDING BUT NOT LIMITED TO LOST PROFITS, COSTS OF
PROCUREMENT OF SUBSTITUTE GOODS OR SERVICES, AND BUSINESS
INTERRUPTION, EVEN IF THE DAMAGED PARTY HAS BEEN ADVISED OF THE
POSSIBILITY OF SUCH DAMAGES.

                                                  ARTICLE 10
                                                   NOTICES

       Section 10.1 Notices. Any notice, statement, demand, claim, offer or other written
instrument required or permitted to be given pursuant to this Agreement shall be in writing signed
by the Party giving such notice and shall be sent by electronic transmission, hand messenger
delivery, overnight courier service, or certified mail (receipt requested) to the other Party at the
address set forth below; provided, that to be effective any such notice sent originally by electronic
transmission must be either confirmed electronically by the recipient or followed within two (2)
Business Days by a copy of such notice sent by overnight courier service:

       If to the Developer:

       SRI Energy, LLC
       24371 Catherine Industrial Drive, Suite 231
       Novi MI 48375

       With a Copy to:

       James E. Roach
       The Murray Law Group, P.C.
       31780 Telegraph Rd., Suite 200
       Bingham Farms, MI 48025


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        Tel: 248.540.7082
        E-mail: jroach@murraylawpc.com



        If to CEN:

        Clean Energy Nexus LLC
        2700 Post Oak Blvd., Ste. 2100
        Houston, TX 77056



        With a Copy to:

        Lodestone Legal Group
        256 Seaboard Lane, STE G-103
        Franklin, TN 37067
        Attn: R. Keith Gordon
        (615) 807-1240
        kgordon@llgtn.com


                                        ARTICLE 11
                                 MISCELLANEOUS PROVISIONS

        Section 11.1 Further Assurances. If either Party reasonably determines or is reasonably
advised that any further instruments or actions are necessary or desirable to carry out the terms of
this Agreement, the other Party shall execute and deliver all such instruments and perform all such
actions reasonably necessary and proper to carry out the terms of this Agreement.

        Section 11.2    Relationship of Parties. The relationship of the Parties is as follows:

              (a)      Neither Party shall have the right or power to bind the other Party to any
agreement or obligation;

                (b)       This Agreement is not intended to create, and shall not be construed as
creating, a partnership, joint venture, or any other business entity other than the limited agreement
contained herein; and

               (c)        No Party is an agent, employee, contractor, vendor, representative,
fiduciary or partner of the other Party or its Affiliates, and a Party shall not hold itself out as such.

        Section 11.3 Governing Law. This Agreement and any dispute or claim arising in
connection with this Agreement shall be governed by and construed in accordance with the laws
of the State of New York, without regard to any conflicts of law provisions.



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        Section 11.4 Jurisdiction and Venue; Waiver of Trial by Jury. Any action, suit or
proceeding arising out of, under or in connection with this Agreement shall be brought and
determined in an appropriate federal or state court in the State of New York in the County of New
York, Borough of Manhattan. The Parties shall submit to the exclusive jurisdiction of any such
state court or federal court having jurisdiction where any such action, suit or proceeding is. Each
of the Parties hereby irrevocably waives, to the fullest extent permitted by applicable law, the
defense of an inconvenient forum to the maintenance of such action or proceeding in any such
court. EACH PARTY HEREBY WAIVES, TO THE EXTENT PERMITTED BY LAW, ITS
RIGHT TO A TRIAL BY JURY FOR ANY SUCH SUIT, ACTION OR PROCEEDING
ARISING OUT OF OR RELATING TO THIS AGREEMENT.
        Section 11.5 Assignment. Parties may not assign or transfer this Agreement or its
rights or obligations hereunder without consideration for both parties interest in the assignment,
which should not be unreasonably withheld. Upon prior notice to Developer, CEN may assign
this Agreement within CEN entities internally for financing purposes any of the Project
Companies or all or substantially all of the assets of the Project Companies; provided, that such
assignee assumes in writing all obligations of the Parties hereunder, and in such case Parties
shall be released from any and all liability arising under this Agreement from and after the effective
date of such assignment.

       Section 11.6 Severability. If any provision of this Agreement is deemed to be invalid
or unenforceable or is prohibited by the laws of the province, state, or jurisdiction where it is to be
performed, this Agreement shall be considered divisible as to such provision and such provision
shall be inoperative in such province, state or jurisdiction. The remaining provisions of this
Agreement shall be valid and binding and shall remain in full force and effect as though such
provision was not included.

        Section 11.7 Entire Agreement; Amendments; No Third-Party Beneficiaries. This
Agreement represents the entire agreement between Parties with regard to the matters addressed
herein and all prior agreements, oral or written are superseded hereby. This Agreement may be
amended, modified or supplemented only by a written instrument executed and delivered by
Parties. Except as otherwise expressly provided in Article 9 with respect to indemnified Persons,
no Person other than the Parties shall have any rights, remedies, or benefits under any provision
of this Agreement.

        Section 11.8 Non-Exclusivity of Remedies. Any delay or failure by a party to this
Agreement to exercise any right, power, remedy, or privilege herein contained, or now or hereafter
existing under any applicable statute or law, shall not be construed to be a waiver of such right,
power, remedy, or privilege. No single, partial, or other exercise of any such right, power, remedy,
or privilege shall preclude the further exercise thereof or the exercise of any other right, power,
remedy, or privilege.

        Section 11.9 Headings. Article and section headings used herein are for convenience of
reference only, are not part of this Agreement and shall not affect the construction of, or be taken
into consideration in interpreting, this Agreement




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        Section 11.10 Counterparts.         This Agreement may be executed in any number of
counterparts, including “pdf" counterparts, each of which shall be deemed an original instrument,
but all of which together shall constitute but one and the same instrument.




                                    [signatures on the following page]




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      IN WITNESS WHEREOF, the parties hereto have executed this Development
Agreement as of the Effective Date.


                                      Sri Energy, LLC

                                      Agreed and Accepted:



                                      By: _________________________________
                                      Its: Prasad Gullapalli, President
                                      Date: Feb 20, 2019




                                      Clean Energy Nexus, LLC



                                       By: _______________________________
                                           Joaquin Altenberg, CEO
                                             Date: Feb 20, 2019




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                                                EXHIBIT A

                                                PROJECTS

                                    Estimated
     Project                                                Estimated               Acquisition
                 Project Co.         Project
     Name                                                 Purchase Price            Fee ($w/dc)
                                   Capacity/Size
1 Medtronic      CEN
  Juncos Solar   Juncos                  4.91               $8,202,367                $0.15/w
                 Solar LLC
2 Sault St.      TribeSolar
  Marie – St.    Holdco 1,                2.0               $2,742,000                $0.05/w
  Ignace         LLC
3 Sault St.
                 TribeSolar
  Marie –
                 Holdco 1,                4.0               $6,520,000                $0.05/w
  Kewadin
                 LLC
  Casino
4 Sault St.
                 TribeSolar
  Marie –
                 Holdco 1,               0.70               $1,071,000                $0.05/w
  Chimukwa
                 LLC
  Ice Arena
5 Sault St.      TribeSolar
  Marie –        Holdco 1,               10.0               $14,000,000               $0.05/w
  Other          LLC




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                                    EXHIBIT B
                   DOCUMENTS TO BE DELIVERED ON OR PRIOR TO NTP

For each Project, the following documents must be delivered in accordance with Prudent Industry
Practices between Parties for Project NTP:

1. Executed Power Purchase Agreement or net metering credit agreements (as applicable);

2. Executed Lease or binding and financeable form of site control;

3. Executed easement agreements as necessary for interconnection, construction, access and
egress;

4. Preliminary Interconnection Approval required to commence construction;

5. Stamped drawings for the proposed Project as well as PVSyst estimated production;

6. ALTA surveys or approved survey (except for projects on public lands);

7. Title search;

8. All Permits required for the construction of a Project;

9. All required environmental and land use reports required for permits; including Phase I ESA
meeting the current ASTM standards, geotechnical, stormwater, wildlife, and wetlands (as
applicable)

10. SREC Registration, as required, and all other registrations, and preliminary approvals for each
Project (as applicable) required to commence construction;

11. Executed EPC Agreement.




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                                             SCHEDULE 1

                        Joint Development Services between Parties

1. Identify and establish site control at Project Sites enabling the construction and operation
    of Projects for a period that is the same length or longer than the power purchase agreement
    for such Project, including securing suitable Lease, site access or option to purchase land
    agreements from landowners and a title commitment in financeable form. Each Lease shall
    provide for the delivery by the lessor thereunder of estoppels and subordination, non-
    disturbance and attornments agreements from mortgagees in favor of the Project Company,
    if applicable.
2. Secure Leases, easements and/or other financeable rights in and to all real property required
    for interconnection of the Projects with the utility grid or host customer electrical system,
    as applicable, and access to Project Sites for construction, operation, maintenance of the
    Projects
3. Obtain all interconnection and transmission studies from specialized engineering firms
    required to support the permitting process with the local utility and the power purchase
    agreement negotiations for the Projects.
4. Obtain all Interconnection Agreement and Permits required to interconnect to the local
    utility grid and deliver energy to a grid inter-tie for the Projects.
5. Obtain all required Permits required for the construction, interconnection, operation and
    maintenance of the Projects, except for such Permits cannot be obtained prior to the
    completion and commissioning of the Project.
6. Obtain all research and environmental reports and studies required to obtain land use
    permits, including environmental (including an ASTM compliant Phase 1), biological,
    cultural, soils, geotechnical and geo-hazard, fiscal impact, traffic, and other reports and
    studies as may be required for the development, construction, operation, maintenance or
    financing of any Project (collectively, the "Reports").
7. Obtain detailed physical site data and maps as required for detailed construction design and
    engineering, including a site survey (to ALTA Land Title Survey standards) and
    topographic data, for the Projects.
8. Obtain all necessary Non-disturbance Agreements (as applicable).
9. Obtain all reasonably necessary agreements with local tax authorities (as applicable).
10. Provide sufficient financial analysis and modeling to fully support power purchase
    agreement negotiations and financing and/or sale, if any, of the Projects or Project
    Companies prior to the completion of construction.
11. Provide all services required to complete NTP conditions contained in Exhibit B.




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